
LANE, J.
to the jury. The remedy by the action of slander, was *366given to prevent parties from redressing- sncli grievances by personal violence. Your acquaintance with the tone of society here, fit ji-ou to estimate the amount of compensation for injury resulting from an accusation of perjury. The first inquiry is, are the words ■proven to-have been spoken? If so, were they spoken maliciously, or in a slanderous sense? Malice is an evil intention : if one accuse another of crime, he is presumed to make a false accusation, and malice is inferred from the falsehood. The excuse or justification for speaking must be proved by the defendant; as, that the words were true, or were spoken under circumstances to negative malice, and if he fail so to do, the plaintiff is entitled to a verdict. If the words are proven, and doubts exist only as to the defence, they are to be resolved in favor of the plaintiff. That the plaintiff was a 359] '^candidate for office, is no excuse for slandering him. We have no right to tell a lie of another, because he is a candidate for office, or is in office; though we may speak the truth of him, we have no right to bear false witness against our neighbor. It would subvert our government, to allow the promulgation of falsehood, which would drive from office men who regard character, and leave in only those without any.
Verdict for the plaintiff, $640.
Motion for new trial overruled, and judgment on the verdict.
[Impeaching witness overruled; JBuclelin v. State, 20 O. 18, 25; French v. Millard, 2 O. S. 44, 50.]
